JS 44 (Rev. 10/20)

purpose of initiating the civil docket sheet.

Case 2:21-cv-03437- (ISG LQOONER SHAFd08/02/21 Page 1 of 10

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS

Sandra Brooks

(b) County of Residene

e of First Listed Plaintiff c/o Philadelphia
(EXCEPT IN U.S, PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)
Law Offices of Robert T Vance Jr, 100 South Broad
Street, Suite 905, Philadelphia Pa 19110 (215)

DEFENDANTS

NOTE;

Attorneys (/f Known)
Unknown

 

Cenlar FSB, a subsidiary of Cellar Capital Corporation

County of Residence of First Listed Defendant

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

Il. BASIS OF JURIS

DICTION (Place an “X” in One Box Only)

 

(For Diversity Cases Only)

If. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “¥" in One Box for Plaintiff

and One Box for Defendant)

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

C] 1 U.S. Government [e]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State (1) [] 1 incorporated or Principal Place [L]4 (44
of Business In This State
C 2 U.S. Government J4 Diversity Citizen of Another State CT] 2 O 2 Incorporated and Principal Place O 5 C]s
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a (13 [4] 3. Foreign Nation [le [Je
Foreign Country
IV. NATURE OF SUIT (piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
110 Insurance PERSONAL INJURY PERSONAL INJURY | 1625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane | 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability y_|690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability | 367 Health Care/ |] 400 State Reapportionment
150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical ROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |_| 430 Banks and Banking
151 Medicare Act | 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
152 Recovery of Defaulted Liability [_] 368 Asbestos Personal 835 Patent - Abbreviated |_| 460 Deportation
Student Loans 340 Marine Injury Product je New Drug Application |_| 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
C] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle | 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[| 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act | 485 Telephone Consumer
190 Other Contract Product Liability LJ 380 Other Personal | 720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations a 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury CL] 385 Property Damage 740 Railway Labor Act |_| 862 Black Lung (923) 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical |_| 863 DIWC/DIWW (405(2)) Exchange
Medical Malpractice Leave Act |_| 864 SSID Title XVI |_| 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |_|790 Other Labor Litigation |_| 865 RSI (405(g)) |_| 891 Agricultural Acts
|_}210 Land Condemnation 440 Other Civil Rights Habeas Corpus: | |791 Employee Retirement | 893 Environmental Matters
220 Foreclosure 441 Voting |_| 463 Alien Detainee Income Security Act TAX SUITS 895 Freedom of Information
230 Rent Lease & Ejectment « | 442 Employment Hl 310 Motions to Vacate 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations |] 530 General [| 871 IRS—Third Party H 899 Administrative Procedure
[_]290 All Other Real Property [] 445 Amer, w/Disabilities -[_ | 535 Death Penalty | IMMIGRATION. | 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
|_] 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN (Place an “X” in One Box Only)

| Original 2 Removed from
| Proceeding O State Court

3. Remanded from
Appellate Court

ci4 Reinstated or Cl 5 Transferred from

Another District

(specify)

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):
42 USC Section 1981

Reopened

Transfer

6 Multidistrict
Litigation -

8 Multidistrict
Litigation -
Direct File

 

VI. CAUSE OF ACTION

 

Brief description of cause:
Employment discrimination - race

 

 

 

 

 

VII. REQUESTED IN  [] CHECKIFTHISISACLASS ACTION DEMAND S CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: [x]Yes [No
VII RELATED CASE(S) ;
IF ANY (Seemsiructions’ Ge NONE DOCKET NUMBER
DATE SIGN. RE OF, ae a
$/2 if AOL) VN Pf Uibiaee
FOR OF FICE/USE ONLY / JA
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG, JUDGE

—_—_$__$——$——$
Case 2:21-cv-03437-MSGED DOES BISTRICF (QUB8/02/21 Page 2 of 10
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

dives of Biante Philadelphia, Pennsylvania

 

Address of Defendant: Trenton, New Jersey

 

Place of Accident, Incident or Transaction: Pennsylvania

 

 

RELATED CASE, IF ANY:

None
Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1, Is this case related to property included in an earlier numbered suit pending or within one year Yes Nol
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes No]
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes Nol
numbered case pending or within one year previously terminated action of this court?

4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes No |i

 

 

 

 

 

 

case filed by the same individual?

I certify that, to my knowledge, the within case C1 is / L] is not related to any - now pending or within one year previously terminated action in

this court except as noted above. agit
_ August 2, 2021 Wiikey at 37692

Attorney-at-Law / Pro Se Plakptiff Attorney ID. # (if applicable)

DATE

 

 

 

CIVIL: (Place a ¥ in one category only)

 

A, Federal Question Cases: B. Diversity Jurisdiction Cases:
[] 1. Indemnity Contract, Marine Contract, and All Other Contracts (1 1. Insurance Contract and Other Contracts
LJ 2. FELA (1 2. Airplane Personal Injury
[] 3. Jones Act-Personal Injury LJ 3. Assault, Defamation
LI 4. Antitrust [1 4. Marine Personal Injury
H 5. Patent LJ] 5. Motor Vehicle Personal Injury
6. Labor-Management Relations [] 6. Other Personal Injury (Please specify):
7. Civil Rights [] 7. Products Liability
[] 8. Habeas Corpus [] 8. Products Liability — Asbestos
H 9. Securities Act(s) Cases [] 9. All other Diversity Cases
10. Social Security Review Cases (Please specify):
[] 11. All other Federal Question Cases

(Please specify):

 

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

Robert T Vance Jr

I, . counsel of record or pro se plaintiff, do hereby certify:

 

wv Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

 

 

 

 

j-7 Relief other than monetary damages is sought.

a
pare. August 2, 2021 WL Pas a L 37692

Attorney-at-Law / Pro Se Plaiptiff Attorney ID. # (if applicable)

 

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ, 609 (5/2018)

 
Case 2:21-cv-03437-MSG Document1 Filed 08/02/21 Page 3 of 10

United States District Court for the Eastern District of Pennsylvania

Sandra Brooks
vs : Civil Action No.
Jury Trial Demanded
Cenlar FSB, a subsidiary of Cenlar
Capital Corporation
Complaint

Plaintiff, Sandra Brooks, brings a series of claims against Defendant, Cenlar FSB, a

subsidiary of Cenlar Capital Corporation, of which the following is a statement:
Jurisdiction and Venue

1. This Court has original jurisdiction to hear this Complaint and adjudicate the
claims stated herein under 28 U.S.C. §§ 1331and 1343, this action being brought under the Civil
Rights Act of 1866, 42 U.S.C. § 1981 (‘Section 1981”), and the Civil Rights Act of 1991, Pub.
L. 102-166, 105 Stat. 1071 (Nov. 21, 1991). The Court has jurisdiction over Ms. Brooks’s state
law claim pursuant to 28 U.S.C. § 1367.

2. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2),
because a substantial part of the events or omissions giving rise to this case occurred in this
judicial district.

The Parties

3. Plaintiff, Sandra Brooks, is an African-American female citizen of the United
States and a resident of this judicial district.

4. Defendant Cenlar FSB is a subsidiary of Cenlar Capital Corporation. Cenlar
Capital Corporation is a savings and loan holding company that offers banking services. Cenlar

FSB provides residential mortgage loan services, as well as central loan administration and
Case 2:21-cv-03437-MSG Document1 Filed 08/02/21 Page 4 of 10

reporting services. Cenlar Capital Corporation was incorporated and has its headquarters in New
Jersey. Cenlar FSB maintains offices in Yardley, Pennsylvania and Trenton, New Jersey.

5. At all times relevant to this action, defendant was an “employer” within the
meaning of Section 1981 and applicable state law.

6. The acts set forth in this Complaint were authorized, ordered, condoned, ratified
and/or done by defendant’s officers, agents, employees and/or representatives while actively
engaged in the management of defendant’s business.

Background Facts

7. Defendant hired Ms. Brooks in or about February 2017 as a Quality Assurance
Analyst. In October 2019, Ms. Brooks accepted her current position, Employee Relations
Coordinator, but without a salary increase. At all times relevant to this Complaint, Ms. Brooks
was an excellent employee.

8. After that promotion, Ms. Brooks sought numerous other promotions for which
she was qualified. However, defendant failed to promote her to every position she applied for
because it systemically discriminates against Blacks and prefers White employees in key
positions and pursuant to its pattern and practice of refusing to select Blacks for promotions.
The positions Ms. Brooks applied for, and as to which defendant refused to select her because of
her race, are the following:

. Client Manager

. Operations Business Analyst

c. Change Control Coordinator

d. Policy, Program and Procedure Writer

e. Process Engineer
f. Project Manager

of

In each case, defendant selected a White candidate for the position.
Case 2:21-cv-03437-MSG Document1 Filed 08/02/21 Page 5 of 10

9. On or about February 19, 2021, Ms. Brooks applied for the position of Client
Manager. Ms. Brooks was qualified for the position. Matthew Detweiller, a White male and one
of defendant’s management employees, was the Hiring Manager for the position.

10. Despite the fact that she was qualified for the position, Mr. Detweiller refused to
interview Ms. Brooks for the position, without providing to the internal recruiter assigned to the
position any specific reason for his decision. Mr. Detweiller selected a White female for the
position.

11. Mr. Detweiller refused to interview Ms. Brooks for the Client Manager position
and refused to select her for that position because of her race and pursuant to defendant’s history,
pattern and practice of failing to select Blacks for key positions.

12. Onor about February 19, 2021, Ms. Brooks applied for the position of Operations
Business Analyst. Ms. Brooks was qualified for the position. William Moffett, a White male
and one of defendant’s management employees, was the Hiring Manager for the position.

13. Despite the fact that she was qualified for the position, Mr. Moffett refused to
interview Ms. Brooks for the position, without providing to the internal recruiter assigned to the
position any specific reason for his decision. On information and belief, Mr. Moffett selected a
non-Black candidate for the position.

14. Mr. Moffett refused to interview Ms. Brooks for the Operations Business Analyst
position and refused to select her for that position because of her race and pursuant to
defendant’s history, pattern and practice of failing to select Blacks for key positions.

15. In February 2021, Ms. Brooks applied for three (3) positions: Change Control

Coordinator, Process Engineer, and Policy, Program and Procedure Writer. Ms. Brooks was
Case 2:21-cv-03437-MSG Document1 Filed 08/02/21 Page 6 of 10

qualified for each of these positions. Alyson Keisel, a White female and one of defendant’s
management employees, was the Hiring Manager for the positions.

16. Ms. Keisel interviewed Ms. Brooks simultaneously for the positions and
instructed Ms. Brooks to select the position she was most interested in obtaining. Ms. Brooks
chose the Change Control Coordinator position and informed the internal recruiter of her choice.
The internal recruiter then told Ms. Brooks that Ms. Keisel believed she was best-suited for the
Policy, Program and Procedure Writer position, so Ms. Brooks told the internal recruiter that she
would accept Ms. Keisel’s suggestion and seek that position.

17. Ms. Brooks was interviewed by the Supervisor of the Policy, Program and
Procedure Writer position and believed the interview went well.

18. Defendant never contacted Ms. Brooks about any of the three (3) positions after
her interview. However, Ms. Brooks later learned that defendant selected White females for the
Policy, Program and Procedure Writer position and the Change Control Coordinator position, but
did not select anyone for the Process Engineer position.

19. Defendant refused to select Ms. Brooks for any of the three (3) positions because
of her race and pursuant to its history, pattern and practice of failing to select Blacks for key
positions.

20. On April 1, 2021, at the suggestion of a Human Resources Advisor/Recruiter, Ms.
Brooks applied for the position of Project Manager. Ms. Brooks submitted her resume to the HR
Advisor/Recruiter who suggested she apply for the position. In response to inquiries about her
resume from the Designated Recruiter, Ms. Brooks revised her resume and returned it to the

Designated Recruiter, who told Ms. Brooks that she would give it to the Hiring Manager for the
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position. Subsequently, Ms. Brooks was never contacted by the Designated Recruiter about the
position and was not interviewed for the position.

21. | Defendant refused to interview Ms. Brooks for the Project Manager position and
refused to select her for the position because of her race and pursuant to its history, pattern and
practice of failing to select Blacks for key positions.

22. Each of the positions Ms. Brooks applied for was at a higher salary grade than her
then-current salary grade, and had she been selected for any of the positions, her compensation
would have significantly increased.

23. Ms. Brooks has suffered, is now suffering and will continue to suffer emotional
distress, mental anguish, loss of enjoyment of life and other non-pecuniary losses as a direct and
proximate result of defendant’s discrimination.

24. Defendant discriminated against Ms. Brooks because of her race and pursuant to
its history, pattern and practice of failing to select Blacks for key positions.

25. By reason of defendant’s discrimination, Ms. Brooks suffered extreme harm,
including loss of income and other employment benefits, loss of professional opportunities,
embarrassment and humiliation.

26. Defendant acted and failed to act willfully, maliciously, intentionally and with
reckless disregard for Ms. Brooks’s rights.

Count I
The Civil Rights Act of 1866, 42 U.S.C. $1981

27. Plaintiff restates and realleges paragraphs 1-26, inclusive, as though set forth here

in full.
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28. Ms. Brooks had a federal statutory right under the Civil Rights Act of 1866, 42
U.S.C. §1981 (“Section 1981”), as amended, to be accorded the same rights as were enjoyed by
White employees with respect to the terms and conditions of their employment relationship with
defendant and to the enjoyment of all benefits, privileges, terms and conditions of that
relationship.

29. | Defendant’s conduct described above deprived Ms. Brooks of the rights,
privileges and immunities guaranteed to him under Section 1981.

30. By reason of defendant’s conduct, Ms. Brooks is entitled to all legal and equitable
relief available under Section 1981.

Count I
Intentional Infliction of Emotional Distress

31. Plaintiff restates and realleges paragraphs 1-30, inclusive, as though set forth here
in full.

32. Defendant knew, or in the exercise of reasonable care, should have known, that its
conduct described above would cause, and did cause, Ms. Brooks mental distress, and was so
extreme so as to exceed all bounds that are usually tolerated in a decent and civilized society.

33. | Defendant’s extreme and outrageous conduct intentionally or recklessly caused
severe emotional distress to Ms. Brooks.

34. As adirect and proximate result of the acts and conduct described above, Ms.
Brooks suffered actual damages, including loss of earnings and future earning capacity,

emotional distress, mental anguish, humiliation and embarrassment, attorney’s fees and costs.
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35. The acts of defendant described above were willful, wanton, malicious,
intentional, oppressive and done in willful and conscious disregard of the rights and welfare of
Ms. Brooks, thereby justifying an award of punitive damages.

Jury Demand
36. | Ms. Brooks hereby demands a trial by jury as to all issues so triable.
Prayer for Relief

Wherefore, Plaintiff, Sandra Brooks, respectfully prays that the Court:

a. adjudge, decree and declare that defendant has engaged in illegal race
discrimination, and that the actions and practices of defendant complained of herein are violative
of her rights under Section 1981;

b. order defendant to provide appropriate job relief to Ms. Brooks, including
immediate promotion;

c. enter judgment in favor of Ms. Brooks and against defendant for all available
remedies and damages under law and equity, including, but not limited to, back pay, front pay,
reinstatement, past and future mental anguish and pain and suffering, in amounts to be
determined at trial;

d. order defendant to pay the attorney’s fees, costs, expenses and expert witness fees
of Ms. Brooks associated with this case;

e. grant such other and further legal and equitable relief as may be found appropriate
and as the Court may deem just or equitable; and

f. retain jurisdiction until such time as the Court is satisfied that defendant has

remedied the unlawful and illegal practices complained of herein and is determined to be in full
Case 2:21-cv-03437-MSG Document1 Filed 08/02/21 Page 10 of 10

compliance with the law.

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Robert T Vance Jr

Law Offices of Robert T locc Jr
100 South Broad Street - Suite 905

Philadelphia PA 19110
215 557 9550 tel / 215 278 7992 fax

rvance(@vancelf.com

Attorney for Sandra Brooks
